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                              DPS Requested                             Edits DRAFT                          Confidential                                   093013
                                                                   SOS MOU NUMBER




                                                                   DPS MOU NUMBER




     MEMORANDUM
              OF UNDERSTANDING BETWEEN THE OFFICE OF THE TEXAS
  SECRETARY OF STATE AND THE TEXAS DEPARTMENT OF PUBLIC SAFETY
CONCERNING ELECTION IDENTIFICATION CERTIFICATE ISSUANCE OUTSIDE
 OF A DEPARTMENT OF PUBLIC SAFETY FACILITY MOBILE EIC CENTERS

1         Parties

This    Memorandum                 of Understanding               MOU            is    between        the   Office    of the Secretary of State

SOS            and the       Texas         Department            of Public     Safety        DPS Both                parties                     have   reviewed         the

information contained                   in    this   MOU and agree to be bound                         by    its   terms            as            evidenced      by the
signatures affixed



II           Scope of Agreement
This    document contains                  the    entire    scope of the        MOU between
                                                                                          SOS and DPS and may only be
amended        in writing         and signed            by the authorized representative of both SOS and DPS


III       Background
In    2011     the   Texas        Legislature        passed Senate Bill            14   SB 14 requiring Texas voters                                          to present

a form of identification                containing          the   voters     photograph before casting                  a ballot in any election

The    provisions           of SB        14      allow     for    the
                                                                          acceptance         of any        one     of seven                       different
                                                                                                                                                               types      of

identification        by     election        workers       for the      issuance      of a ballot     to    a voter    Those acceptable                            forms

of identification           are    codified        in    Texas    Election     Code      §    630101        and    are listed                     as a Texas       driver

license      issued     by    DPS a Texas personal identification card issued by DPS a Texas concealed
handgun        license            by DPS an election identification
                             issued                                   certificate issued by DPS a United

States military         identification            card containing           the persons         photograph           a United                      States   citizenship

certificate     containing          the persons            photograph         or United        States      passport



The    election       identification             certificate       EICs          to     be    issued by       DPS     is   a document                          that    was
created      by SB 14             DPS   has developed             its   own internal procedures               and processes                         in order to issue

these documents              to   Texas         voters    who do not have             any of the other listed forms                                of identification

Further under           SB 14 these documents                           are available        free   of charge         DPS                   has     offered     EICs      to

voters    at    state   driver       license         offices      including     keeping         some of those          offices
                                                                                                                                                    open outside of
regular business            hours          In   order to further          facilitate    the    issuance      of EICs SOS and DPS                                  desire

to enter        MOU to coordinate to provide EICs outside of Texas driver license
             into    this                                                                                                                                   facilities    in

mobile EIC centers This MOU describes the terms of this coordination



IV



SOSpurchased
          Mobile        EIC Centers
Mobile       EIC centers            will     consist      of SOSpurchased                equipment          being used                           by DPS     employees
who    have     been       trained      in the       issuance      of EICs         There       are   25 such units                    The following

                 equipment          constitutes           a mobile EIC center            when        used by a DPS         employee



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Memorandum             of Understanding                 SOSDPS           Mobile EIC Centers

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           1     Office Jet PrinterScanner


           1 Canon         Camera
                             Digital


           1 Memory            camera
                                    card for


           1     Cable camera
                            for  PC             to


           1         hand
                 Folding                    trucks


           1 Backdrop
           1     Tripod camera for


           1     Surge Protector

           1       hub
                 4 port


           1     50 quart storage bin


           1 Bungee             cord


           1     Easel for banner


           1     Dell
                 Laptop

           1     Banners           and Posters



Mobile     EIC centers              will    move     throughout          the      State to     locations         determined by                 SOS and agreed
to   by DPS          SOS       will    notify       DPS      in    writing    of the     final       location       for     each mobile             EIC center       at

least   three     3     full       business         days     in    advance        of the      requested          start      date    of operations             at   that

location       The mobile EIC centers                       will   be moved from location                   to   location by DPS                   employees


V          Custody          of Equipment                    The     mobile        EIC   centers           have   been purchased                    by   SOS        with

guidance       from DPS on what equipment would make                                         the    most efficient            mobile EIC center                    SOS
owns    the    equipment             that   constitutes        mobile       EIC centers            and will continue               to   do     so   following the

completion        of this      MOU            SOS will        transfer       custody     of the mobile EIC centers                        to   DPS on Friday
September                   20                 2013                                At               this               time                  the              mobile

EIC     centers      will   be under the             full     custody        and care        of     DPS          This       full   custody          and   care     will

continue       until   termination           of this    MOU

While    under the          full     custody and care of               DPS DPS                is    responsible for the                 mobile       EIC centers

including      the     following



           Use    for issuance              of EICs only by trained                DPS employees
           Reasonable           prevention           of loss theft           or damage

           Replacement               of mobile        EIC centers            verified as           lost    stolen      or   damaged            save     for

           normal       wear and tear                during         a joint       physical         inventory        after     the    return         of the

           equipment           to    DPS Headquarters                 and

           Return       of     all     mobile        EIC      centers        to    SOS       following           the      final     joint      physical

           inventory        in the         same or substantially              similar        condition save             for    normal wear and

           tear as the condition                when         custody was transferred to                    DPS


DPS     will    promptly return               all    mobile        EIC   centers        to    DPS         Headquarters              5805       N Lamar Blvd
Austin     TX      78752        after the      conclusion           of the related mobile EIC operation




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Memorandum                    of Understanding               SOSDPS               Mobile EIC Centers

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DPS         will    promptly            notify        SOS      that        all    mobile        EIC      centers         have       been       returned        to   DPS

Headquarters                  from    locations        throughout                Texas          As     soon      as    possible           after   this    return      and

notification             DPS and SOS                will    conduct          a    joint      physical    inventory        of the          returned mobile             EIC

centers        verifying           any     lost       stolen     or        damaged            equipment                After    the        completion          of each

inventory           DPS        will    store    the   mobile EIC centers                     in a   secure location            at   DPS        Headquarters         until

SOS         notifies      DPS         of the    next        mobile         EIC center           operation        and DPS            moves         the    mobile       EIC

centers       for that         operation
Prior to the             termination       of this         MOU DPS and SOS will conduct                                   a final physical              inventory      of

the    mobile EIC centers                  and upon completion of such                           final   inventory            DPS     will      return the mobile

EIC centers          to       SOS


VI            Reimbursement of Costs
In    the    event       that    any    of the equipment                   constituting         a mobile        EIC center           is    verified      through      the


joint   physical              inventory    as   lost stolen           or damaged               such that the equipment                    is   not in the      same or

substantially            similar       condition       as    when          custody was           transferred           save    for   normal wear and tear

DPS     will       reimburse          SOS for the original purchase                           price   of the equipment by SOS                       either     through

interagency transaction voucher or inkind replacement



The     original         purchase       price    of all      equipment             is   as   follows



              25 Office Jet PrinterScanner                                        Unit       Cost $10188                 Total cost            $254700
              25 Canon Digital Camera                                             Unit Cost $10188                       Total cost            $254700
              25 Memory card for camera                                           Unit Cost           $535               Total cost            $13375

              25 Cable for camera to PC                                           Unit       Cost $901                   Total cost            $24775

              25 Folding hand trucks                                              Unit       Cost $9466                  Total cost            $236650
              25 Backdrop                                                         Unit       Cost $17520                 Total cost            $438000
              25 Tripod for camera                                                Unit cost         $595                 Total cost            $14875

              25 Surge Protector                                                  Unit       cost   $1050                Total cost            $26250

              25 4 port hub                                                       Unit       cost   $1175                Total cost            $29375

              49 50 quart storage bin                                             Unit       cost   $1275                Total cost            $62475

              25 Bungee cords                                                     Unit       cost   $839                 Total cost            $20975

              25 Easel for banner                                                 Unit       cost   $1752                Total cost            $17520

              25 Laptops                                                          Unit       cost   $157497              Total cost            $3937425


VII           Duration          of Partnership

This        MOU          is    effective       on     the    date     it     is    fully      executed       and       will    terminate           on    the    written

agreement           of the parties to terminate it                          Any amendments to this MOU must be in the form of a
written       amendment signed by both parties
VIII          Location          and Contact Information

The mobile EIC                  centers    will       be picked up from SOS by                        DPS       at the    James Earl Rudder Building
1019 Brazos Street                     Austin         Texas      78701              This      location     is    the    headquarters              for    SOS    for   the


purposes           of this      MOU unless specified elsewhere                                 in this   MOU             The    SOS        point    of contact        for

this    MOU         is    Jim Martin 5124635608                             jmartinsostexasgov                           The DPS point of contact                     for




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Memorandum               of Understanding        SOSDPS      Mobile EIC Centers

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this    MOU         is    Tony    Rodriguez      Customer      Operations         Senior   Manager     DLD    5124245657
tonyrodri       uez2idpstexasgov




IX         Signature of Authorized              Officials

Each     official        executing   this   MOU    is   authorized   to   enter   into   this   MOU on behalf of his or her
organization             In   witness thereof the parties hereby execute            this   MOU

Texas     Department of Public Safety


By

Title



Date




Office    of the Secretary           of State



By

Title



Date




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